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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION
 In re:                                          §
                                                 §            Chapter 7
 ALEXANDER E. JONES,                             §
                                                 §            Case No. 22-33553 (CML)
                  Debtor.                        §
                                                 §

   APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING THE RETENTION
       AND EMPLOYMENT OF PORTER HEDGES LLP AS CO-COUNSEL
         FOR CHRISTOPHER R. MURRAY, AS CHAPTER 7 TRUSTEE

       This motion seeks an order that may adversely affect you. If you oppose the
       motion, you should immediately contact the moving party to resolve the
       dispute. If you and the moving party cannot agree, you must file a response
       and send a copy to the moving party. You must file and serve your response
       within 21 days of the date this was served on you. Your response must state
       why the motion should not be granted. If you do not file a timely response, the
       relief may be granted without further notice to you. If you oppose the motion
       and have not reached an agreement, you must attend the hearing. Unless the
       parties agree otherwise, the court may consider evidence at the hearing and
       may decide the motion at the hearing.
       Represented parties should act through their attorney.

       Christopher R. Murray, the Chapter 7 Trustee (the “Trustee”) of the bankruptcy estate of

Alexander E. Jones (the “Debtor”), hereby files this application (the “Application”) for the entry

of an order, under Sections 327(a) and 330 of title 11 of the United States Code (the “Bankruptcy

Code”), Rules 2014 and 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) and Rules 2014-1 and 2016-1 of the Local Bankruptcy Rules of the United States

Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Local Rules”), authorizing

the employment and retention of Porter Hedges LLP (“PH” or the “Firm”) as the Trustee’s

bankruptcy co-counsel effective as of June 14, 2024. In support of this Application (the

“Application”), the Trustee relies on the Declaration of Joshua W. Wolfshohl in Support of

Debtors’ Application for Entry of an Order Authorizing the Retention and Employment of Porter


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Hedges LLP as Co-Counsel for Christopher R. Murray, as Chapter 7 Trustee (the “Wolfshohl

Declaration”), attached hereto as Exhibit A. The Trustee respectfully states as follows:

                               JURISDICTION AND EVENUE

       1.      The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and the Amended Standing

Order of Reference from the United States District Court for the Southern District of Texas, dated

May 24, 2012. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b).

       2.      Venue is proper pursuant to 28 U.S.C. § 1408.

       3.      The statutory bases for the relief requested herein are sections 327(a) and 330 of

the Bankruptcy Code, Bankruptcy Rules 2014 and 2016, and Local Rules 2014-1 and 2016-1.

                                       BACKGROUND

       4.      On December 2, 2022 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code (prior to the Conversion Date, the “Chapter 11

Case”, and after the Conversion Date, the “Chapter 7 Case”). The Debtor is an employee of Free

Speech Systems, LLC (“FSS”), which filed its voluntary petition for relief under chapter 11 of the

Bankruptcy Code on July 29, 2022. 100 percent of the outstanding membership interests in FSS

are owned by the Debtor’s bankruptcy estate.

       5.      On December 13, 2022, the United States Trustee for Region 7 (Southern and

Western Districts of Texas) (the “U.S. Trustee”) appointed the Official Committee of Unsecured

Creditors in the Chapter 11 Case pursuant to Bankruptcy Code section 1102(a)(1).

       6.      The Debtor continued managing his assets as debtor and debtor in possession

pursuant to sections 1107 and 1108 of the Bankruptcy Code until the Court entered its Order

Converting Debtor’s Chapter 11 Case to a Case Under Chapter 7 of the Bankruptcy Code [Docket



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No. 708] on June 14, 2024 (the “Conversion Date”). On June 21, 2024, the Court entered an order

dismissing the chapter 11 case of FSS [Case No. 22-60043, Docket No. 956], while retaining

exclusive jurisdiction over several adversary proceedings and the approval of professional fees and

expenses. On the Conversion Date, the U.S. Trustee appointed Christopher R. Murray as the

Chapter 7 Trustee in the Chapter 7 Case.

                                    RELIEF REQUESTED

       7.      The Trustee seeks entry of an order authorizing the retention and employment of

PH as bankruptcy co-counsel to the Trustee in the Chapter 7 Case. PH will serve as bankruptcy

co-counsel alongside Jones Murray LLP, whose retention will be separately requested. This

Application is filed within 30 days of PH’s provision of services to the Trustee in his capacity as

Chapter 7 Trustee. Pursuant to Local Rule 2014-1, the Application is deemed contemporaneous

with the date of the commencement of PH’s service to the Trustee. See Local Bankr. R. 2014-

1(b)(1) (“If an application for approval of the employment of a professional is made within 30

days of the commencement of that professional’s provision of services, it is deemed

contemporaneous.”).

                          QUALIFICATION OF PROFESSIONALS

       8.      The Trustee seeks to retain PH as bankruptcy co-counsel because of PH’s

recognized expertise and extensive experience and knowledge in chapter 7 trustee representations

and large and complex business reorganizations, restructurings and liquidations. On June 14,

2024, the Trustee retained PH to represent him in connection with the Chapter 7 Case. PH is

familiar with the Debtor’s affairs and has become aware of many of the potential legal issues that

might arise in the context of the Chapter 7 Case.




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       9.      PH possesses extensive experience and knowledge practicing before bankruptcy

courts in chapter 7 and complex chapter 11 cases, including many cases before this Court. PH and

its partners have previously represented numerous debtors and trustees in chapter 7 and chapter 11

cases. The Trustee believes that PH is well qualified to represent him in the Chapter 7 Case and

that such representation is critical to the success of these cases.

       10.     The Trustee has been informed that Joshua W. Wolfshohl, a partner at PH, as well

as other partners of, counsel to, and associates of PH who will be working on this matter are

members in good standing of the Bar of the State of Texas.

       11.     For the foregoing reasons, the Trustee believes that PH is specially situated and

well qualified to represent him in these Chapter 7 Case in a most efficient manner. Accordingly,

the Trustee believes that the retention of PH is necessary and in the best interests of the Debtor,

the Debtor’s estate, creditors and other stakeholders.

                          SCOPE OF SERVICES TO BE PROVIDED

       12.     The Trustee believes that employment of PH as bankruptcy co-counsel is necessary

and that the services to be rendered by PH within its assigned areas of responsibility will include,

but not be limited to, assisting the Trustee with the administration of the Debtor’s estate, the wind

down of the Debtor’s business, the investigation and prosecution of estate causes of action and

other matters as the Trustee requests. PH has stated its desire and willingness to act in these

Chapter 7 Case and render the necessary professional services as bankruptcy co-counsel for the

Trustee. PH will actively coordinate with its co-counsel and other estate professionals to avoid

the duplication of services.




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                            PROFESSIONAL COMPENSATION

       13.     The professional services of PH are necessary to ensure that all matters related to

the Chapter 7 Case are handled in a diligent and expeditious manner. PH practices in a national

marketplace for legal services in which rates are driven by multiple factors relating to the

individual lawyer, his or her area of specialization, the firm’s expertise, performance, and

reputation, the nature of the work involved, and other factors. PH has advised the Trustee that,

subject to this Court’s allowance of compensation and reimbursement of expenses in accordance

with applicable general orders and fee guidelines of this Court, sections 330 and 331 of the

Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any other orders of the Court, it will

charge the Trustee for its legal services on an hourly basis in accordance with its ordinary and

customary rates for matters of this type in effect on the date such services are rendered, and for

reimbursement of all costs and expenses incurred in connection with these Chapter 7 Case, as set

forth in the Wolfshohl Declaration filed concurrently herewith.

       14.     The hourly rates set forth in the Wolfshohl Declaration are the Firm’s standard and

customary hourly rates for matters of this type in effect on the date such services are rendered.

These rates are set at a level designed to fairly compensate the Firm for the work of its attorneys

and paralegals and to cover fixed and routine overhead expenses and are revised on an annual

basis. The current standard hourly rates for matters relate to the Chapter 7 Case range as follows:

                      Category of Service Provider          Low/High
                      Partners                              $520/$1,100
                      Of Counsel                            $400/$1,100
                      Associates/Staff Attorneys            $420/$805
                      Paralegals                            $310/$470
                      Technical Advisors                    $315/$495

These rates are subject to periodic adjustment to reflect economic and other conditions (which

adjustments will be reflected in the first PH fee application following such adjustments) and are


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consistent with the rates charged elsewhere. The Firm has not agreed to any variations from, or

alternatives to, its standard billing arrangements for this engagement.

        15.     In addition, PH customarily charges its clients for various costs and expenses

incurred, including, without limitation, costs for photocopying, electronic data management

services, including scanning and document imaging, travel, travel-related expenses, expenses for

“working meals,” computerized research, transcription costs, mail and express mail charges,

special or hand delivery charges, witness fees, and other fees related to trials and hearings, as well

as non-ordinary overhead expenses approved by the client such as secretarial and other overtime.

The Firm will charge the Trustee for these expenses in a manner and at rates consistent with

charges made generally to the Firm’s other clients.

        16.     Pursuant to Bankruptcy Rule 2016(b), PH has neither shared nor agreed to share

(a) any compensation it has received or may receive with another party or person, other than with

the partners, counsel, associates, and contract attorneys, and other personnel associated with PH

or (b) any compensation another person or party has received.

                    EFFORTS TO AVOID DUPLICATION OF SERVICES

        17.     The Trustee may also file applications to employ additional professionals in the

Chapter 7 Case. PH will work closely with any additional professionals retained by the Trustee to

delineate their respective duties to prevent duplication of services to the furthest extent possible.

It is anticipated that the coordination of efforts of these professionals will greatly aid in the efficient

and effective administration of these Chapter 7 Case.

                                      DISINTERESTEDNESS

        18.     To the best of the Trustee’s knowledge, information and belief, and except as

disclosed herein and in the Wolfshohl Declaration, PH does not hold any interest adverse to the

Debtor or the Debtor’s estate with respect to the matters on which PH is to be employed.

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       19.     Due to PH’s extensive practice, PH currently provides, and has in the past provided,

legal services to certain of the Debtor’s creditors or other parties in interest in matters unrelated to

this Chapter 7 Case. PH is not disqualified for employment under section 327 solely because of

its representation of certain parties in interest in matters unrelated to the Chapter 7 Case. The

Trustee believes these representations will not affect PH’s representation of the Trustee in the

specific matters set forth in this Application. As set forth more fully in the Wolfshohl Declaration,

PH is a “disinterested person” as defined in section 327(a) of the Bankruptcy Code.

       20.     To the extent that any new, relevant facts or relationships bearing on the matters

described herein during the period of PH’s retention are discovered or arise, the Trustee is advised

that PH will use reasonable efforts to promptly file a supplemental declaration, as required by

Bankruptcy Rule 2014(a).

                                  SUPPORTING AUTHORITY

       21.     The Trustee seeks retention of PH as bankruptcy co-counsel pursuant to section

327(a) of the Bankruptcy Code, which provides that a debtor, subject to Court approval:

               Except as otherwise provided in this section, the trustee, with the
               court’s approval, may employ one or more attorneys, accountants,
               appraisers, auctioneers, or other professional persons, that do not
               hold or represent an interest adverse to the estate, and that are
               disinterested persons, to represent or assist the trustee in carrying
               out the trustee’s duties under this title.

11 U.S.C. § 327(a).

       22.     Bankruptcy Rule 2014(a) requires that an application for retention include:

               [S]pecific facts showing the necessity for the employment, the name
               of the [firm] to be employed, the reasons for the selection, the
               professional services to be rendered, any proposed arrangement for
               compensation, and, to the best of the applicant’s knowledge, all of
               the [firm’s] connections with the debtor, creditors, any other party
               in interest, their respective attorneys and accountants, the United
               States trustee, or any person employed in the office of the United
               States trustee.

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FED. R. BANKR. P. 2014.

       23.     Such employment may be based “on any reasonable terms and conditions of

employment, including on a retainer, on an hourly basis, on a fixed or percentage fee basis, or on

a contingent fee basis.” 11 U.S.C. § 328(a).

       24.     The Trustee submits that for all the reasons stated above and in the Wolfshohl

Declaration, the retention and employment of PH as bankruptcy co-counsel to the Trustee is

necessary and in the best interest of the Debtors and their estates and complies with the

requirements of section 327(a) of the Bankruptcy Code. Accordingly, the Trustee requests that

this Application be approved.

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       WHEREFORE the Trustee respectfully requests that the Court enter an order, substantially

in the form attached hereto, granting the relief requested in the Motion and such other and further

relief as may be just and proper.

 Dated: July 3, 2024
 Houston, Texas
                                               Respectfully submitted,

                                               /s/ Christopher R. Murray
                                               Christopher R. Murray, Trustee
                                               602 Sawyer Street, Suite 400
                                               Houston, Texas 77007
                                               Telephone: 832-529-3027
                                               chris@jonesmurray.com

                                               CHAPTER 7 TRUSTEE

                                               and

                                               PORTER HEDGES LLP

                                               /s/ Joshua W. Wolfshohl
                                               Joshua W. Wolfshohl (Bar No. 24038592)
                                               1000 Main Street, 36th Floor
                                               Houston, Texas 77002
                                               Telephone: (713) 226-6000
                                               Facsimile: (713) 226-6248
                                               jwolfshohl@porterhedges.com

                                               PROPOSED BANKRUPTCY CO-
                                               COUNSEL FOR
                                               CHRISTOPHER R. MURRAY,
                                               CHAPTER 7 TRUSTEE




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                              CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that on July 3, 2024, a true and correct copy of the
foregoing document has been served on all parties receiving ECF notice in the above-referenced
cases.

                                                         By: /s/ Joshua W. Wolfshohl
                                                                 Joshua W. Wolfshohl




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